
dismis.re                                                           



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-05-358-CV







VERIZON COMMUNICATION
, INC.	APPELLANT





V.



LONDI DENNIS	APPELLEE





----------

FROM THE 17TH DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered “Verizon Communication, Inc.’s Motion For Voluntary Dismissal Of Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f). &nbsp;

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).



PER CURIAM	





PANEL D: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: &nbsp;November 10, 2005

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




